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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


 TEVA PHARMACEUTICAL INDUSTRIES LTD.
 and TEVA PHARMACEUTICALS USA, INC.,

                       Plaintiffs,

                         v.                                        C. A. No. 07-332-GMS

 TORRENT PHARMACEUTICALS LTD. and
 TORRENT PHARMA INC.,

                      Defendants.


                     STIPULATION OF DISMISSAL WITH PREJUDICE

         IT IS HEREBY STIPULATED AND AGREED by and between the parties through their

respective counsel, in accordance with Rule 41(a)(1)(ii) of the Federal Rules of Civil Procedure,

that pursuant to the parties’ confidential Settlement Agreement, the above-captioned action,

including all claims and counterclaims therein, is hereby dismissed with prejudice, all parties to

bear their own costs and attorney fees.

DATED:           February 27, 2009


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Attorneys for Plaintiffs,                         Attorneys for Defendants,
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and Teva Pharmaceuticals USA, Inc.                and Torrent Pharma Inc.




                            SO ORDERED this _____ day of _______________, 2009.


                                      __________________________________________
                                       CHIEF, UNITED STATES DISTRICT JUDGE




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